Case 1:24-cr-20008-DSL Document 19 Entered on FLSD Docket 04/12/2024 Page 1 of 6




                              UM TED STATES D ISTW CT CO UR T
                              SOU TIIERN DISTR ICT OF FLO RIDA

                      CASE NO.24-20008-CR-G           LIU S/GOOD> N(s)
                                  18U.S.C.j2423(b)              '
                                                                    I
                                  18U.S.C.j2423(c)                  )FILE D BY         m dc       D .c .
                                  18U.S.C.j2428                     !
                                                                    j                                  ù
                                                                                                       ;

   U M TED STATES O F AM ERICA                                               A p r 11, 2024
                                                                            ANG M    G.Ho Bl.c
   VS.                                                                     CLERK U $ D1FT.G'T.
                                                                           s.o-oFftk..-.sjîan,i,1
                                                                                                ,
                                                                                                -u
   Y C IIA EL K AR T,G EILEN FELD ,

                  D efendant.
                                               /

                                 SUPERSEDENG INDICTNG N T

          'l'he Grand Jury chargesthat:

                                           CO UN T I
     Traveling in Foreign Com m erce with the Purpose ofEngaging in IllicitSexualConduct
                                          18U.S.C.j7423(18
          B etween in or around N ovem ber 2006,and continuing through in or around Decem ber

   2010,in M iam i-D ade Cotmty,in the Southem DistrictofFlorida,and elsewhere,the defendant,

                                Y CH AEL K AR I,GEILEN FELD ,

   a U nited States citizen,did travel in foreign com m erce from the U nited States,that is,M inm i

   Intem ationalAirpol'tin M inmi,Florida,to Haiti,forthepup ose ofengaging in any illiqitsexual'

   conduct,asdefmedinTitle18,UnitedStatesCode,Section24234:,Withanotherpersonunder18
   yearsofage,inviolationofTitle18,UnitedStatesCode,Section242309.
Case 1:24-cr-20008-DSL Document 19 Entered on FLSD Docket 04/12/2024 Page 2 of 6




                                           CO U NT 2
                    E ngaging in lllicitSexualC onductin a Foreign Place
                                     18U.S.C.j24234c)
        Between in or around 2007,and continuing through in or around 2010,in Haiti and

 elsewhere,the defendant,

                             M ICH AEL K ARI,GEILENFELD,

 a United States citizen,arrested in M inmi-D ade County,in the Southem Distrid ofFlorida,did

 travelin foreign comm ercefrom theUnited States,thatis,M iam ilntem ationalAirportin M inmi,

 Florida,to Haiti,and engagein illicitsexualconduct,asdefined in Title 18,United StatesCode,

 Section 2423(9,with M INOR VICTIM 1,aperson who wasthen under 18 years ofage,in
 violationofTitle18,UnitedStatesCode,Sedion2423/).
                                          C O U NT 3
                    E ngaging in IllicitSexualConductin a Foreign Place
                                     18U.S.C.j24234c)
        In oraround 2009,in Haitiand elsewhere,the defendant,

                             M ICH AEL K ARI,G EILENFELD ,

 a United States citizen,arrested in M iami-Dade Cotmty,in the Southern DistrictofFlorida,did

 travelin foreign commerce from theUnited States,thatis,M iam iInternationalAirportin M inm i,

 Florida,to Haiti,and engage in illicitsexualcondud,asdefm ed in Title 18,United StatesCode,

 Section 2423(9,with MINOR VICTIM 2,a person who wasthen under 18 yearsofage,in
 violationofTitle 18,UnitedStatesCode,Section2423/).
                                          C OU N T 4
                    Engaging in IllicitSexualC onduct in a Foreign Place
                                     18U.S.C.j2423/)
        Betw een in or arotm d 2008, and continuing through in or around 2009, in H aiti and

 elsewhere,thedefendant,
Case 1:24-cr-20008-DSL Document 19 Entered on FLSD Docket 04/12/2024 Page 3 of 6




                              M ICH AEL K ARL GEILENFELD,

 aUnited States citizen,arrested in M iami-Dade Cotmty,in the Southern DistrictofFlorida,did

 travelin foreign comm ercefrom theUnited States,thatis,M iam iInternationalAirportin M iam i,

 Florida,to Haiti,and engage in illicitsexualcondud,asdefined in Title 18,United StatesCode,

 Section 2423(9,with M INOR VICTIM 3,a person who wasthen under 18 years ofage,in
 violationofTitle18,United StatesCode,Section2423(0.
                                           C O U NT 5
                     E ngaging in IllicitSexualC onductin a Foreign Place
                                       18U.S.C.j2423/)
        Between in or around 2008, and continuing through in or arotm d 2010, in H aiti and

 elsewhere,the defendant,

                              M ICH AEL KA RL G EILENFELD ,

 a United Statescitizen,arrested in M iami-D ade Cotmty,in the Southem Distrid ofFlorida,did

 travelin foreign com mercefrom theUnited States,thatis,M inm ilnternationalAirportin M iam i,

 Florida,to Haiti,and engage in illicitsexualconduct,asdefined in Title 18,United StatesCode,

 Section 2423(9,with MINOR VICTIM 4,a person who wasthen under 18 years ofage,in
 violation ofTitle 18,United StatesCode,Section2423/).
                               FO R FEITIJR E A LLE GATIO N S

               TheallegationsofthisSuperseding Indictmentarere-alleged and by thisreference

 fully incozporated herein forthepurpose ofalleging forfeiture to the United States ofAm erica of

 certain property in w hich the D efendant,M IC H A EL K AR IUG E ILEN FELD ,hasan interest.

               Upon conviction of a violation ofTitle 18,U nited States Code, Section 2423,as

 alleged in tllisSuperseding Indictment,thedefendantshallforfeitto theUnited States:(a)any
 property,real or personal,that w as used or intended to be used to com m it, or to facilitate the
Case 1:24-cr-20008-DSL Document 19 Entered on FLSD Docket 04/12/2024 Page 4 of 6




  commissionof,suchviolationand(b)anyproperty,realorpersonal,constitutingorderivedf'
                                                                                   rom
  any proceedstraceableto such violation,plzrsuantto Title 18,United StatesCode,Section 2428.

          A1lptlrsuanttoTitle 18,United StatesCode,Section 2428,and theproceduressetforth in

  Title21,United States Code,Section 853,asincorporated by Title 28,U nited StatesCode,Section

  2461.




                                            FokrruKsuN                            tz

 M AR KE ZY LM OIN T
 UN ITED STATES ATTORN EY



 LA CEE ELIZM TH M ON K
 A SSISTAN T UN ITED STAT S ATTORN EY


                                -                >
    S1C U RBAN                  ,
 TRIA L ATTORN EY                /
 C IL EXPLOI               AN D OB SCEN ITY SECTION


       W         kz-             auj; y
 ED UA RD O PA O M O
 TRIA L ATT      Y
 CIIILD EXPLOITATION AN D O BSCEN ITY SECTION
  Case 1:24-cr-20008-DSL Document 19 Entered on FLSD Docket 04/12/2024 Page 5 of 6
                                     U NITED STATES D ISTR ICT C OUR T
                                     SOU TH ERN DISTRICT OF FLO RIDA

UNITED STATESOF AM ERICA                               cAsE NO.:24-20008-CR-W i1liams/Goodman(s)

                                                       C ER TIFICATE OF TR IA L ATTO RN EY
M ICH AEL 1G 111,GEILEN FLED ,
                                              /
                D efendant.                            Superseding Case Inform ation:
CourtDivision (selectone)                              New Defendantts)(YesorNo)No
    lE1M iami     I:IKey W est        EIFTP            Num berofN ew Defendants
     L FTL        Q W PB                               Totalnum berofnew counts 4

1do hereby certify that:
  1. 1have carefully considered the allegations ofthe indictm ent,the num berofdefendants,thenumberofprobable
       witnessesandthelejalcomplexitiesoftheIndictment/lnformationattachedhereto.
       1nm awarethatthelnform ation supplied onthisstatementwillberelied upon by theJudgesofthisCoul'
                                                                                                    tin setting
       theircalendarsand scheduling criminaltrialsunderthem andateoftheSpeedyTrialAct,Title28U .S.C. j3161.

       Interpreter:(yesorNo)No
       Listlanguage and/ordialect:
       Thiscasewilltake 10 daysforthepartiestotry.

       Please check appropriate category and type ofoffense listed below :
       (Checkonlyone)                      (Checkonlyone)
      I EJ 0to 5days                      EIPetty
      11 lE
          % 6to 10 days                   IZIM inor
      1II E111to20 days                   EIM isdemeanor
      Iv E121to 60 days                   EIFelony
      V L 61daysand over

 6. HasthiscasebeenpreviouslyfiledinthisDistrictCourt?(YesorNo) Yes
    lfyes,Judge W illiam s                CaseN o 24-20008-CR-W i11iams/Goodman(s)
                                                           .

    Hasacomplaintbeenfiledinthismatter?(YesorNo)No
      Ifyes,M agistrate CaseN o.
      DoesthiscaserelatetoapreviouslyfiledmatterinthisDistrictCourt?(YesorNo)No
     Ifyes,Judge                                 CaseN o.
 9. Defendantts)in federalcustodyasof January20,2024
 10. Defendantts)instatecustodyasof
 11. Rule 20 from the             D istrictof
 12. lsthisapotentialdeathpenaltycase?(YesorNo)No
 13. D oesthis caseoriginate from a m atterpending in the N orthern Region ofthe U .S.A ttorney'sO ffice
      priortoAugust8,2014(Mag.JudgeShaniekM aynard?(YesorNo)No
 14. D oesthis caseoriginate from a m atterpending in the CentralRegion ofthe U .S.A ttorney's Office prior
      toOctober3,2019(Mag.JudgeJaredStrauss?(YesorNo)No
     D id this m atter involve the participation of or consultation w ith M agistrate Judge EduArdo 1.Sanchez
     during histenure attheU .S.A ttorney'sOffice,which concluded on January 22,20232 N o
 16. D id thism atter involve the participation of orconsultation w ith now M agistrate Judge M arta Fulgueira
     Elfenbein during hertenure atthe U .S.A ttorney'sOffice,whic concluded on M arch 5,20242 N O

                                                   By:
                                                           Lacee Elizabçth M k
                                                           A ssistantUnited StatesA ttorney
                                                           FL BarN o.         100322
Case 1:24-cr-20008-DSL Document 19 Entered on FLSD Docket 04/12/2024 Page 6 of 6



                          U N ITED STA TES D ISTR ICT CO U R T
                          SO U TH ER N D ISTR IC T O F FL O R ID A

                                    PEN ALT Y SH EET

 Defendant'sNam e: M ichaelK arlGeilenfeld

 CaseNo: 24-20008-CR-m LLIV S/GO ODO                 (s)                           l
 Count#:1

 Traveling in Foreign Com mercewith thePup oseofEngaging in IllicitSexualConduct

 Title18,UnitedStatesCode,Section242309
 *M ax.Term ofImprisonment:Tltirty(30)years
 * M andatory M in.Term ofIm prisonm ent:N one
 * M ax.Term ofSupervised R elease:Life
 *M andatoryM in.Term ofSupervised Release:Five(5)years
 *M ax.Fine: $250,000

 Cotmts#:2-5

 Engaging in lllicitSexualCondud in aForeign Place

 Title18,UnitedStatesCode,Section2423(c)
 *M ax.Term ofImprisonment:Thirty (30)years                                       '
                                                                                  !
 * M andatory M in.T erm ofIm prisonm ent:N one
 *M ax.Term ofSupenrised Release:Life
 *M andatoryM in.Term ofSupervisedRelease:Five(5)years
 *M ax.Fine: $250,000




 WRefers only to possible term ofincarceration,doesnotinclude possible fines,restitution,
          specialassessm ents,parole term s,or forfeitures thatm ay be applicable.
